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David Stebbins (pro se Plaintiff)     123 W. Ridge Ave., APT D, Harrison, AR 72601
(870) 212-4947                        acerthorn@yahoo.com

       UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF CALIFORNIA

DAVID STEBBINS,                                                             PLAINTIFF

VS.                                   Case 3:22-cv-00546-JSW

EMILY REBÔLO, ET AL                                                         DEFENDANTS

     MOTION FOR EXTENSION OF TIME TO FILE THIRD AMENDED COMPLAINT
        Comes now, pro se Plaintiff David Stebbins, who hereby submits the following Motion
for Extension of Time to File Third Amended Complaint in the above-styled action.
1.      On December 4, 2024, the Court issued an order giving me 21 days to file a Third
Amended Complaint.
2.      I have filed a motion to clarify and a motion for leave to file motion for reconsideration
regarding that order.
3.      I therefore respectfully ask that the deadline for filing the third amended complaint be
stayed indefinitely until those two motions are disposed of.
        So requested on this, the 4th day of December, 2024.
                                                                                 /s/ David Stebbins
                                                                                     David Stebbins




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